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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MASSACHUSETTS

 

JUDITH GOLDITCH, Individually and on Behalf Case No. 1:20-cev-11142-DJC
of All Others Similarly Situated,

Plaintiff,
Vv.

ALPHABET, INC., GOOGLE, INC.,
and GOOGLE, LLC,

Defendants.

 

 

NOTICE OF VOLUNTARY DISMISSAL

PLEASE TAKE NOTICE that pursuant to Rule 41 of the Federal Rules of Civil Procedure,
Plaintiff Judith Golditch, by and through her undersigned counsel, hereby dismisses this entire
action effective upon filing, with prejudice, which dismissal does not require the Court’s approval.
See. Fed. R. Civ. P. 41(a)(1)(A)(i) (stating that a “...plaintiff may dismiss an action without a court
order by filing notice of dismissal before the opposing party serves either an answer or a motion
for summary judgment.”). Defendant has not served or filed an answer or motion for summary

judgment in this action.
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Dated: December 22, 2020 Respectfully submitted,

/s/ Edward L. Manchur
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Counsel for Judith Golditch

CERTIFICATE OF SERVICE
I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and
paper copies will be sent to those indicated as non-registered participants on December 22, 2020.

/s/ Edward L. Manchur

 

 
